                                                                                     U.S. BANKRUPTCY COURT
    Case 09-03133-sgj        Doc 276      Filed 02/24/10 Entered 02/24/10 16:51:43 NORTHERN
                                                                                     Desc    Main
                                                                                             DISTRICT OF TEXAS
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                                                                                           ENTERED
                                                                                        TAWANA C. MARSHALL, CLERK
                                                                                           THE DATE OF ENTRY IS
                                                                                          ON THE COURT'S DOCKET




The following constitutes the ruling of the court and has the force and effect therein described.



Signed February 24, 2010                                          United States Bankruptcy Judge




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

     In re:                                                §
                                                           §
     REALTY AMERICA GROUP (LINCOLN                         §     CASE NO. 09-33076-SGJ-11
     MALL), LP                                             §
        ____________________________________               §
                                                           §
     CREDIT UNION LIQUIDITY SERVICES, LLC,                 §
     f/k/a TEXANS COMMERCIAL CAPITAL, LLC                  §
                                                           §
           Plaintiff/Counter-Defendant,                    §
                                                           §
     vs.                                                   §
                                                           §
     RIVES E. CASTLEMAN, RAG-LINCOLN                       §
     GENPAR, LLC, BALLARD CASTLEMAN,                       §
     WEBB MCCANN SOWDEN, III, and JEFFREY                  §
     CHRISTOPHER BERRY,                                    §
                                                                 ADV. NO. 09-03133-SGJ
                                                           §
           Defendants/Counter-Plaintiffs/Cross-            §
           Plaintiffs,                                     §
                                                           §
     vs.                                                   §
                                                           §
     REALTY AMERICA GROUP (LINCOLN                         §
     MALL), LP, by and through JOHN H.                     §
     LITZLER, CHAPTER 11 TRUSTEE                           §
                                                           §
              Intervenor and Cross-Defendant.              §
                                                           §



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                                            JUDGMENT

         CAME ON TO BE HEARD Plaintiff’s Amended Motion for Summary Judgment Against

Defendants/Counter-Plaintiffs (the “Amended Motion”), and the Court having determined that the

Amended Motion should be granted and judgment should be entered against Rives E. Castleman (“R.

Castleman”), RAG-Lincoln GenPar, LLC (“RAG”), Ballard Castleman (“B. Castleman”), Webb

McCann Sowden, III (“Sowden”), and Jeffrey Christopher Berry (“Berry”) (collectively,

“Defendants”),

         And the Court having determined that there has been a full adjudication of the claims of

Plaintiff against the Defendants and of the counterclaims of Defendants against Plaintiff as set forth

in the Amended Motion, that granting of the Amended Motion is final, and that there is no just

reason for delay in entering this Judgment and certifying this Judgment as final,

         IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Credit Union Liquidity

Services, LLC f/k/a Texans Commercial Capital, LLC (“CULS”) shall have and recover the total

aggregate amount of $40,801,393.73 ($40,603,687.21 plus accrued prejudgment interest from

December 22, 2009 through February 3, 2010 at the rate of $4,493.33 per day) of and from

Defendants as follows:

         ·        Against Rives E. Castleman, jointly and severally liable, in the amount of

$40,801,393.73 plus post judgment interest at the current federal judgment rate of .36% per annum

on that amount from the date of this Judgment until paid;

         ·        Against RAG-Lincoln GenPar, LLC, jointly and severally liable, in the amount of

$40,801,393.73 plus post judgment interest at the current federal judgment rate of .36% per annum

on that amount from the date of this Judgment until paid;




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         ·        Against Ballard Castleman, individually and severally liable, in the amount of

$12,400,000.00 plus post judgment interest at the current federal judgment rate of .36% per annum

on that amount from the date of this Judgment until paid;

         ·        Against Jeffrey Christopher Berry, individually and severally liable, in the amount

of $12,400,000.00 plus post judgment interest at the current federal judgment rate of .36% per annum

on that amount from the date of this Judgment until paid; and

         ·        Against Webb McCann Sowden, III, individually and severally liable, in the

amount of $12,400,000.00 plus post judgment interest at the current federal judgment rate of .36%

per annum on that amount from the date of this Judgment until paid.

         IT IS FURTHER ORDERED, ADJUDGED, and DECREED that the Defendants recover

nothing by way of their counterclaims against CULS.

         IT IS FURTHER ORDERED, ADJUDGED, and DECREED that this Judgment is final and

there is no just reason to delay appellate review.

         IT IS FURTHER ORDERED, ADJUDGED, and DECREED that all writs and processes for

the execution and collection of this Judgment shall issue.

         IT IS SO ORDERED.

                                        ###END OF ORDER###




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